
Upon consideration of the petition, brief of petitioner, and the State's brief in opposition thereto, the judgment of the Court of Criminal Appeals, 453 So.2d 1066, granting the State of Alabama's petition for mandamus is reversed and this cause is remanded for an order consistent herewith.
Mandamus will not lie to compel the trial court's exercise of discretion in a particular manner, nor to review the lower court's proceedings for error, nor as a substitute for appeal.State v. Cannon, 369 So.2d 32 (Ala. 1978).
REVERSED AND REMANDED.
TORBERT, C.J., and FAULKNER, JONES, ALMON, SHORES, BEATTY and ADAMS, JJ., concur.
MADDOX, J., concurs specially.